                 Case 22-02890-JJG-11                        Doc 260       Filed 08/04/22               EOD 08/04/22 22:21:21                       Pg 1 of 4


          Fill in this information to identify the case:

          Debtor name    Aearo Technologies LLC, et al.
          United States Bankruptcy Court for the: Southern                  District of Indiana
                                                                                     (State)                                                        2Check if this is an
          Case number (If known):   22-02890                                                                                                        amended filing




        Chapter 11 Cases: Amended Consolidated List of Law Firms Representing the
        Respirator Claimants                                                  12/15

        Aearo Technologies LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Mexico Holding Corporation, Cabot Safety Intermediate
        LLC, and 3M Occupational Safety LLC (collectively, the “Debtors”) each filed a petition in this Court on July 26, 2022 for relief under chapter 11
        of title 11 of the United States Code. The following is a consolidated list of parties that represent or have represented the known parties that
        have alleged claims against the Debtors related to alleged personal injury from workplace exposures to asbestos, silica, coal mine dust, or other
        occupational dusts in connection with the use of the Debtors’ mask and respirator products (the “Top Respirator Counsel List”).1 This list does
        not include any person or entity who is an “insider” under section 101(31) of title 11 of the United States Code. The Top Respirator Counsel List
        was prepared based on a reasonable examination of the Debtors’ books and records and based on information available as of the Petition Date.
        The Debtors reserve the right to amend the Top Respirator Counsel List based on additional information they may identify. The information
        contained in the Top Respirator Counsel List shall not constitute an admission by, nor shall it be binding on, the Debtors.


         Name of law firm and complete             Name, telephone number, and          Nature of       Indicate if claim   Amount of unsecured claim
         mailing address, including zip code       email address of law firm contact    the claim       is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                        (for example,   unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                        trade debts,    disputed            total claim amount and deduction for value of
                                                                                        bank loans,                         collateral or setoff to calculate unsecured claim.
                                                                                        professional
                                                                                        services, and
                                                                                        government
                                                                                        contracts)

                                                                                                                            Total claim, if    Deduction for       Unsecured
                                                                                                                            partially          value of            claim
                                                                                                                            secured            collateral or
                                                                                                                                               setoff

    1

         Morgan, Collins, Yeast & Salyer         Attn: Kyle R. Salyer, Katherine
         455 2nd St.                             Banks
                                                                                                        Contingent/
         Paintsville, KY 41240                   P: 606-789-1135
                                                                                       Litigation       Unliquidated/       N/A               N/A                 Undetermined
                                                 F: 888-751-8828
                                                                                                        Disputed
         87 Oak Ridge Court                      kyle.salyer@mcylegal.com
         Prestonsburg, KY 41653                  kathybanks82@gmail.com



    2                                        Attn: Michael B. Martin & Gage
         Martin | Walton                     Walton                                                     Contingent/
         699 S. Friendswood Drive, Suite 107 P: 346-800-0285                           Litigation       Unliquidated/       N/A               N/A                 Undetermined
         Houston, TX 77546                   mmartin@martinwaltonlaw.com                                Disputed
                                             rhonda@martinwaltonlaw.com


    3
         Glenn Martin Hammond Law
                                                 Attn: Glenn Martin Hammond                             Contingent/
         Offices, PLLC
                                                 P: 606-437-7777                       Litigation       Unliquidated/       N/A               N/A                 Undetermined
         5476 North Mayo Trail,
                                                 gmhlaw@hotmail.com                                     Disputed
         Pikeville, KY 41501




1       This list is in substantially the same form as Official Bankruptcy Form 204 for chapter 11 cases setting forth the list of creditors other than insiders, who have the
        20 largest unsecured claims against a debtor.
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Debtor Name: Aearo Technologies LLC, et al.                                          Case Number (if known): 22-02890____________________

 4


                                         Attn: Lonnie C. Simmons, Robert M.
      DiPiero Simmons McGinley &
                                         Bastress III                                     Contingent/
      Bastress, PLLC
                                         P: 304-342-0133                    Litigation    Unliquidated/   N/A          N/A           Undetermined
      604 Virginia Street East,
                                         rob.bastresss@dbdlawfirm.com                     Disputed
      Charleston, WV 25301
                                         lonnie.simmons@dbdlawfirm.com




 5


      Givens Law Firm, PLLC              Attn: Johnny Givens
                                                                                          Contingent/
      240 Trace Colony Park Drive        P: 601-300-2009
                                                                             Litigation   Unliquidated/   N/A          N/A           Undetermined
      Suite 100                          johnny@givens-law.com
                                                                                          Disputed
      Ridgeland, MS 39157                jeanreid@givens-law.com




                                         Attn: Jonah L. Stevens, Destiny S.
 6                                       Hamilton
      Hamilton & Stevens, PLLC           P: 606-437-6555                                  Contingent/
      151 Main Street                    F: 606-437-6553                    Litigation    Unliquidated/   N/A          N/A           Undetermined
      P.O. Box 1286                      jonah@hamiltonstevenslaw.com                     Disputed
      Pikeville, KY 41502                destiny@hamiltonstevenslaw.com
                                         hamiltonstevens@hamiltonstevensl
                                         aw.com
 7

                                         Attn: Joseph E. Wolf, Victoria
      Wolfe Williams & Reynolds          Herman
                                                                                          Contingent/
      470 Park Avenue                    P: 276-679-5919
                                                                             Litigation   Unliquidated/   N/A          N/A           Undetermined
      P.O. Box 625                       F: 276-679-0777
                                                                                          Disputed
      Norton, VA 24273                   jwolfe@wwrrlawfirm.com
                                         vherman@wwrrlawfirm.com



                                         Attn: Tim W. Porter, Patrick C.
 8                                       Malouf, Suzanne E. Smith, James
                                         Sheppard, Mittie R. Field
      Porter | Malouf, P.A.              P: 866-957-1173                                  Contingent/
      824 Ridgewood Rd,                  F: 601-957-7366                     Litigation   Unliquidated/   N/A          N/A           Undetermined
      Ridgeland, MS 39157                tim@portermalouf.com                             Disputed
                                         patrick@portermalouf.com
                                         suzanne@portermalouf.com
                                         bud@portermalouf.com
                                         mittie@portermalouf.com
 9

                                         Attn: Zane Cagle, Andrew G.
      The Cagle Law Firm                 Mundwiller                                       Contingent/
      500 N. Broadway, Ste 1605          P: 314-276-1681                     Litigation   Unliquidated/   N/A          N/A           Undetermined
      St. Louis, MO 63102                zane@caglellc.com                                Disputed
                                         andrew@caglellc.com




 10
                                         Attn: Ned Pillersdorf, Tanner
      Pillersdorf Law Offices                                                             Contingent/
                                         Hesterberg
      124 West Court Street                                                  Litigation   Unliquidated/   N/A          N/A           Undetermined
                                         P: 606-886-6090
      Prestonsburg, KY 41653                                                              Disputed
                                         pillersn@gmail.com




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Debtor Name: Aearo Technologies LLC, et al.                                           Case Number (if known): 22-02890____________________

 11
                                         Attn: James Tyler Ward, II
      Jacobs Ward PSC                                                                      Contingent/
                                         P: 606-634-9600
      P.O. Box 100,                                                           Litigation   Unliquidated/   N/A          N/A           Undetermined
                                         F: 606-633-5749
      Whitesburg, KY                                                                       Disputed
                                         tyler@jacobsward.com


                                         Attn: Samuel Maples, William C.
 12                                      Tucker Jr., Jack Jacobs, Tom
      Maples, Tucker & Jacobs, LLC       Walker, CeCe Brown Freeman,                       Contingent/
      2001 Park Place North              Paisley Newsom                       Litigation   Unliquidated/   N/A          N/A           Undetermined
      Suite 1325                         P: 205-322-2333                                   Disputed
      Birmingham, Alabama 35203          F: 205-322-4962
                                         sam@mtandj.com
                                         bill@mtandj.com
 13                                      jack@mtandj.com
                                         tom@mtandj.com
                                         cece@mtandj.com
                                         paisley@maplesjacobs.com
                                         Attn: Adam Collins, Nathan Collins
      Collins, Collins & Conley PSC                                                        Contingent/
                                         P: 606-785-5048
      161 West Main St.                                                       Litigation   Unliquidated/   N/A          N/A           Undetermined
                                         adam@collinsconley.com
      Hindman, KY 41822                                                                    Disputed
                                         nlcollins@live.com




 14

      N/A                                N/A                                  N/A          N/A             N/A          N/A                  N/A




 15


      N/A                                N/A                                  N/A          N/A             N/A          N/A                  N/A




 16

      N/A                                N/A                                  N/A          N/A             N/A          N/A                  N/A




 17

      N/A                                N/A                                  N/A          N/A             N/A          N/A                  N/A




 18
      N/A                                N/A                                  N/A          N/A             N/A          N/A                  N/A



 19
      N/A                                N/A                                  N/A          N/A             N/A          N/A                  N/A



 20

      N/A                                N/A                                  N/A          N/A             N/A          N/A                  N/A




                                                                                                                                          page 3
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 Fill in this information to identify the case and this filing:


               Aearo Technologies LLC, et al.
 Debtor Name __________________________________________________________________

                                          Southern
 United States Bankruptcy Court for the: ______________________              Indiana
                                                                District of __________
                                                                               (State)
 Case number (If known):    22-02890
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         X    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     08/04/2022
        Executed on ______________                               /s/ John R. Castellano
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  John R. Castellano
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
